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      AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                         UNITED STATES DISTRICT COURT
                                                                      for the
                                                            Middle District of Alabama

                       United States of America                          )
                                   v.                                    )
                                                                         ) Case No: 3:94CR1 14-002-TMH
                     MACK CORNELL HOLSTICK
                                                                         ) USMNo: 45026-019
    Date of Previous Judgment: 3/15/1996                                 ) N/A
    (Use Date of Last Amended Judgment if Applicable)                    ) Defendant's Attorney

                       Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

            Upon motion of X the defendant           the Director of the Bureau of Prisons  the court under 18 U.S.C.
    § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
    subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
    § 994(u), and having considered such motion,
   IT IS ORDERED that the motion is:
            DENIED. X GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                       the last judgment issued) of 360         months is reduced to 292
   I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
   Previous Offense Level:     42                Amended Offense Level:                                             40
   Criminal History Category: I                  Criminal History Category:                                         I
   Previous Guideline Range: 360  to life months Amended Guideline Range                                            292      to 365 months
   II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
   X The reduced sentence is within the amended guideline range.
      The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
      of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
      amended guideline range.
      Other (explain):




   III. ADDITIONAL COMMENTS

   The Court has considered the factors set forth in 18 U.S.C. 3553(a) in making its reduction
   determination pursuant to 18 U.S.C. § 3582(c)(2)/Amendment 706.

   Except as provided above, all provisions of the judgment dated 3/15/1996                    shall remain in effect.
   IT IS SO ORDERED.

   Order Date:          ' - I - I                                                         ct-t-(_
                                                                                                      Judge's signature

Effective Date: ________________                                             TRUMAN HOBBS, SENIOR U.S. DISTRICT JUDGE
                       (if different from order date)                                               Printed name and title
